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                              IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE SOUTHERN DISTRICT OF TEXAS

                                           HOUSTON DIVISION

IN RE:                                            §

                                                  §

Michael Veach and                                 §      CASE NO. 19-31275

Carla Veach                                       §      Chapter 7

                                                  §

         DEBTORS                                  §



CHAPTER 7 TRUSTEE’S APPLICATION TO EMPLOY BK GLOBAL REAL ESTATE SERVICES PURSUANT TO 11
                  U.S.C. §§ 327 AND 328 (a) TO LIST REAL PROPERTY FOR SALE




         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THIS
         MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE.
         IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A
         COPY OF THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS
         OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION
         SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
         GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT
         REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
         OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
         MOTION AT THE HEARING.

         A HEARING IS SCHEDULED ON THIS MATTER FOR THE 18TH DAY OF JUNE, 2019 AT 11:00 AM IN
         COURTROOM 403, 515 RUSK, HOUSTON, TX 77002.



         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.



         Randy W. Williams, chapter 7 Trustee of the above captioned estate (the “Trustee”) files this

Application to Employ BK Global Real Estate Services Pursuant to 11 U.S.C. § 327 to List Real Property for

Sale (the “Application”) and states as follows:
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                                            RELIEF REQUESTED


        1.      The Trustee seeks and order to employ BK Global Real Estate Services (“BK Global”) to list

for sale of the Real Property (as more specifically identified below).


                                         RELEVANT BACKGROUND


        2.       Randy Williams, is the duly qualified and acting chapter 7 Trustee of the bankruptcy

estate of Michael Veach and Carla Veach.


        3.      An asset of the bankruptcy estate is real property located at 8615 CAPE ROYAL DR

CYPRESS, TX 77433, and which is further described as follows:


        Parcel Number: 1297610010017

        Tax ID: 129-761-001-0017

        Census Tract: 482015430.011104

        Carrier Route: R061

        Abbreviated Description: LT 17 BLK 1 CANYON LAKES WEST SEC 2 MAP REF:MAP 4563C




                (the “Real Property”).


        4.      The Debtors listed the Real Property on their schedules as having a value of $353,085.00.

See Dkt. No. 16, Schedule A/B.


        5.      The Debtors listed the following encumbrances (the “Secured Claims”) on the Real

Property:


                a. First Mortgage: Wells Fargo Home Mortgage in the amount of $263,405.00; and
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                     b. Second Mortgage: Primeway Federal Credit Union in the amount of $30,007.00

                        See Dkt. No. 16, Schedule D.


        6.           The Debtors have not declared the Real Property as exempt. See Dkt. No. 16, Schedule

C.


        7.           Based upon the scheduled value and Secured Claims related to the Real Property provided

by the Debtors, there is no equity in the Real Property.


                                         BASIS FOR RELIEF REQUESTED


        8.           The Handbook for Chapter 7 Trustees published by the Executive Office of the United

States Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets” (a) General Standards “A trustee

may sell assets only if the sale will result in a meaningful distribution to creditors. The Section further

states “the trustee may seek a “carve-out” from a secured creditor and sell the property at issue if the

“carve-out” will result in a meaningful distribution to creditors. Further, the Section states “The trustee

must also consider whether the cost of administration or tax consequences of any sale would significantly

erode or exhaust the estate’s equity interest in the asset.”


        9.           BK Global has expertise and experience in assisting trustees in negotiating with secured

creditors to facilitate the sale of real property for the benefit of creditors. BK Global proposes to provide

the following services (the “Services”) to the Trustee:


               i.       List the Real Property for sale to obtain offers for the Trustee, whereby if the Trustee
                        accepts an offer, the Real Property may be sold pursuant to 11 U.S.C. § 363;

              ii.       Obtain the release and waiver of all secured claims against the estate with respect to
                        the Real Property (including any deficiency claims resulting from the proposed sale);

              iii.      Work with the secured mortgage holder(s) to enter into an agreement for an 11 U.S.C.
                        § 506 surcharge to pay all of the closing expenses associated with a § 363 sale,
                        including the payment of a six percent (6%) real estate brokerage commission and
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                       reimbursement of their out-of-pocket expenses to BK Global and any associated real
                       estate professional, paid from the proceeds of the sale, and provide a meaningful
                       carve out for the benefit of allowed unsecured creditors of the Debtors’ estate; and



              iv.      Make certain the amount of the carve out is clearly set out in the motion to sell the
                       Real Property pursuant to 11 U.S.C. § 363.




        10.         BK Global will list the Real Property and assist the Chapter 7 Trustee in negotiations with

the mortgage holder(s) to obtain the consent of the mortgage holder(s) for the sale of the Real Property.

A carve out from the sale proceeds of the Real Property for the payment of closing cost, including a six

percent (6%) real estate commission to BK Global and any associated real estate professional, and a carve

out from the sale proceeds, such amount for the benefit of unsecured creditors of the bankruptcy estate,

which will result in a meaningful distribution to the creditors, and upon a successful resolution with the

secured creditor, approval of the settlement terms and conditions will be sought in connection with a

Motion to approve the sale of the Real Property.


        11.         Compensation.      BK Global will receive a six percent (6%) real estate brokerage

commission and reimbursement of their out-of-pocket expenses associated with the sale of the Real

Property. BK Global will not be entitled to any fees if the Court does not grant the motion to approve the

sale of the Real Property.


        12.     In no event will the bankruptcy estate have any obligation to pay BK Global or associated

real estate professional for their services, or to pay the customary title and closing services. The terms of

the listing agreement and this Application provide that BK Global and listing agent are only entitled to

payment if and when (a) a motion to approve sale is granted and (b) the sale of the Real Property closes,

in which event BK Global and listing agent will receive a six percent (6%) real estate brokerage commission

and obtain reimbursement of any out-of-pocket expenses.
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          13.    The Trustee believes that the highest and best value for the Real Property will be

generated through a sale in which the Real Property is widely marketed to the public and offered at the

highest price that the market will bear. The Trustee further believes that such a sale is in the best interest

of the Debtors’ bankruptcy estate but can only be achieved if the Secured Creditor’s consent is first

obtained. The Chapter 7 Trustee believes that retaining BK Global and/or an associated real estate

professional to obtain the Secured Creditor’s consent is in the best interest of the Debtors’ bankruptcy

estate.


          14.    The Trustee submits that the terms of employment and compensation as set out in this

application and the listing agreement, attached as Exhibit A, are reasonable in light of the extensive

experience of BK Global and any associated real estate professional, and the nature of the services they

provide.


          15.    BK Global attested that it is a disinterested person within the meaning of Section 101(14)

of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a). Attached hereto as

Exhibit B is an Affidavit of Disinterestedness of BK Global. BK Global also attests, pursuant to Bankruptcy

Rule 2016, that it shall not split or share its fee with any individual or entity other than listing agent or a

buyer’s agent, if applicable.


          WHEREFORE, based upon the foregoing, the Chapter 7 trustee seeks the Court’s authority to

retain BK Global in this case and requests that the Court approve the retention of BK Global on the terms,

including but not limited to compensation arrangement, set forth in the listing agreement and this

application, pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code; and for such other and

further relief as the Court determines is appropriate.




Dated: May 16, 2019
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                                                       Respectfully submitted,




                                                       /s/ Randy W. Williams
                                                       Randy W. Williams, Trustee
                                                       7924 Broadway, Ste 104
                                                       Pearland, TX 77581
                                                       (281) 884-9262
                                                       rww@bymanlaw.com


                                                       CHAPTER 7 TRUSTEE




                                           CERTIFICATE OF SERVICE


        I certify that a true and correct copy of the foregoing was served on the Debtors, Debtors’
attorney, U.S. Trustee and all creditors and parties requesting notice by first class U.S. mail, postage
prepaid, on this the 16th day of May, 2019 unless served via ECF at the time of electronic filing.


                                               /s/ Randy W. Williams
                                               Randy W. Williams
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